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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

            Plaintiff,

            v.

RUDY SLACK,                                               NO. 05-30133-07-DRH

            Defendant.


                                      ORDER

HERNDON, District Judge:

            On motion of the United States of America and for good cause shown,

the Court hereby GRANTS the Government’s Motion for Enlargement of Time to File

Responses to Defendant’s Objections to PSR. (Doc. 520.) Government’s Response is

now due June 25, 2007. Currently, Defendant’s sentencing is set for June 15, 2007.

In light of the additional time required to respond to Defendant’s Objections to the

PSR, the Court will continue Defendant’s sentencing set for June 15, 2007 and reset

it for August 3, 2007 at 9:30 a.m.

      IT IS SO ORDERED.

      Signed this 4th day of June, 2007.



                                             /s/      David RHerndon
                                             United States District Judge
